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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
Civil Action No. 1:21-cv-00924-NRN

SECURA INSURANCE COMPANY, a Wisconsin company,

       Plaintiff,

v.

CAMELBACK DEVELOPMENT, LLC, a Colorado limited liability company,
THE RESIDENCES AT NEVADA PLACE CONDOMINIUM ASSOCIATION, a Colorado
non-profit corporation
THE ROCK, Inc. a/k/a ROCK STUCCO
URBAN CONSTRUCTION, LLC, a Colorado limited liability company,

       Defendants.


                                 NOTICE OF SETTLEMENT


       Plaintiff, SECURA Insurance Company ("SECURA"), by and through its attorneys,

submits this Notice of Settlement. The parties have reached an agreement in principle to settle

the underlying construction defect action giving rise to this action and this case. The parties are

working to finalize the settlement agreement. Once finalized, SECURA will file a Notice of

Dismissal. To date, no party has answered or otherwise responded to SECURA's Complaint.
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      Respectfully submitted this 26th day of May, 2021.



                                          /s/ Jane E. Young
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